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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

Caron Nazario                                            )
                                       Plaintiff,        )
                                                         )
v.                                                       )   Civil Action No. 2:21-cv-00169
                                                         )
Joe Gutierrez                                            )
                                                         )
And                                                      )
                                                         )
Daniel Crocker,                                          )
                                       Defendants.       )


                                COMPLAINT EXHIBITS 1 to 5

       Exhibits 1 to 5 of the Plaintiff’s Complaint consist of the following videos that will be on

file in the Clerk’s office, filed on a single DVD.

       Exhibit 1 - 20201205_183646[1].mp4 - Nazario Phone- Video approximately 33:11 in
       length.




       Exhibit 2 - 20201205_190959 - Nazario Phone– Video approximately 10:11 in length.




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Exhibit 3 - Gutierrez BWC – Video approximately 06:41 in length.




Exhibit 4 - Crocker 1 - Axon_Body_3_Video_2020-12-05_1834 – Video approximately 22:08
in length.




Exhibit 5 - Crocker 2 - Axon_Body_3_Video_2020-12-05_1902 – Video approximately 9:41 in
length.




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